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                           EXHIBIT 7
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                                                  Evan Francois Kohlmann
                 evan@flashpoint-intel.com – http://www.flashpoint-intel.com – http://www.twitter.com/IntelTweet

EDUCATION
University of Pennsylvania Law School, Philadelphia, Pennsylvania
       J.D. (Juris Doctor) 2004; James Wilson Scholarship Recipient.
Georgetown University, Washington, DC
       Edmund A. Walsh School of Foreign Service, BSFS 2001, Magna Cum Laude
   •   Major: International Politics, concentration in International Security Studies.
               o Minor: Islamic Studies (Center for Muslim Christian Understanding, Georgetown University)
   •   Honors & Awards: Honors in International Politics; Georgetown University Rhodes Scholar Nominee, 2000.
   •   Research assistant for Dr. Mamoun Fandy in the Center for Contemporary Arab Studies (CCAS) (Fall 2000).
EXPERIENCE
Co-Founder, Chief Innovation Officer                                                                             January 2004 – present
Flashpoint, New York, NY
   •   Flashpoint was first established in early 2010 as the corporate heir to the former website Globalterroralert.com (which itself was founded in
       early 2004). Flashpoint strives to empower our customers to make better decisions in support of their business or mission by gathering the
       most salient open source intelligence feeds and providing meaningful, timely, relevant, and actionable insights through a fusion of
       technology and subject matter expertise. With offices in New York and Washington D.C., our ultimate goal is to make the world a safer
       place by empowering people and organizations everywhere to detect, understand, and mitigate the risks that matter to them the most.
   •   Researched terrorist media, fundraising, and recruitment networks using sources including declassified intelligence documents, exhibits
       submitted in terror-related legal cases, Lexis-Nexis, the World Wide Web, the Foreign Broadcast Information Service (FBIS), and other
       information retrieval sources. Interviewed alleged terrorist recruiters, terrorist facilitators, and cooperating defendants in criminal cases.
       Developed automated data mining solutions and analytical software packages in PHP/MySQL. Conducted statistical and trend analysis
       from large quantities of unstructured data. Drafted public news articles and unclassified memoranda for international law enforcement and
       intelligence agencies examining international terrorism, its sponsors, and its causes. Worked as a liaison to government agencies and non-
       governmental organizations (NGOs). Managed and trained a team of analysts conducting subject matter research.

On-Air Terrorism Analyst                                                                                         October 2004 – present
NBC News / MSNBC, New York, NY
   •   NBC News is the news division of the U.S. television network NBC Universal. It has ranked as the top-rated broadcast news division in the
       United States for over ten years. MSNBC is NBC Universal’s 24-hour cable news and information network. Provided frequent on-air
       analysis and discussion regarding ongoing news stories relating to international terrorism. Assisted in the production of both evening news
       segments and full-length television documentaries relating to international terrorism.

Consultant                                                                                                       August 2005 – January 2010
The Nine/Eleven Finding Answers (NEFA) Foundation, New York, NY
   •   The NEFA Foundation is a non-profit organization created after the attacks of September 11, 2001. The Foundation strives to help prevent
       future tragedies in the U.S. and abroad by independently tracking those responsible for planning, funding, and executing terrorist activities,
       with a particular emphasis on Islamic militant organizations. The Foundation plays a role in the fight against terror through cohesive and
       comprehensive efforts to research, analyze, and disseminate information pertaining to past and current terrorist activities.

Consultant                                                                                                       May 2005 – June 2005
Office of the High Representative (OHR), Sarajevo, Bosnia-Herzegovina
   •   The OHR is the chief civilian peace implementation agency in Bosnia-Herzegovina. I was hired as a short-term consultant by OHR to
       personally travel to Sarajevo and give briefings to intelligence analysts based at Camp Butmir on the status of foreign mujahideen veterans
       in the Balkans and the ongoing role of foreign charitable organizations. Assisted in the analysis of confidential intelligence documents, and
       provided original documentation to add to their records. Gathered firsthand intelligence data in various regions of central Bosnia-
       Herzegovina concerning suspect corporate entities under criminal investigation by local authorities.

Senior Terrorism Consultant                                                                            February 1998 – December 2003
Investigative Project, Washington, DC
   •   The Investigative Project is an open source counterterrorism think-tank and policy group founded in 1995.
   •   Researched terrorist fundraising and recruitment networks using sources including Lexis-Nexis, the World Wide Web, FOIA requests,
       Foreign Broadcast Information Service (FBIS), etc. Interviewed alleged terrorist recruiters and terrorist facilitators for Al-Qaida, Hamas,
       and other groups (including notorious UK-based clerics Abu Hamza Al-Masri and Shaykh Omar Bakri Mohammed).
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INVOLVEMENT IN U.S. CRIMINAL AND MILITARY CASES:   HIRED AS EXPERT   TESTIFIED AS FACT   TESTIFIED AS
                                                     CONSULTANT          WITNESS           EXPERT
U.S. V. JEFFREY BATTLE ET AL.
(DISTRICT OF OREGON, 2003)
                                                         X
U.S. V. MASOUD KHAN ET AL.
(EASTERN DISTRICT OF VIRGINIA, 2004)
                                                         X                  X
U.S. V. RANDALL ROYER
(EASTERN DISTRICT OF VIRGINIA, 2004)
                                                         X
U.S. V. SABRI BENKHALA
(EASTERN DISTRICT OF VIRGINIA, 2004)
                                                         X                                    X
U.S. V. ALI TIMIMI
(EASTERN DISTRICT OF VIRGINIA, 2005)
                                                         X                                    X
U.S. V. UZAIR PARACHA
(SOUTHERN DISTRICT OF NEW YORK, 2005)
                                                         X                                    X
U.S. V. AHMED OMAR ABU ALI
(EASTERN DISTRICT OF VIRGINIA, 2005)
                                                         X
U.S. V. HAMID HAYAT
(EASTERN DISTRICT OF CALIFORNIA, 2006)
                                                         X
U.S. V. ALI ASAD CHANDIA
(EASTERN DISTRICT OF VIRGINIA, 2006)
                                                         X                                    X
U.S. V. YASSIN AREF ET AL.
(NORTHERN DISTRICT OF NEW YORK, 2006)
                                                         X                                    X
U.S. V. SABRI BENKHALA
(EASTERN DISTRICT OF VIRGINIA, 2007)
                                                         X                                    X
U.S. V. RAFIQ SABIR
(SOUTHERN DISTRICT OF NEW YORK, 2007)
                                                         X                                    X
U.S. V. JOSE PADILLA ET AL.
(SOUTHERN DISTRICT OF FLORIDA, 2007)
                                                         X
U.S. V. NURADIN ABDI
(SOUTHERN DISTRICT OF OHIO, 2007)
                                                         X
U.S. V. EMADEDDINE MUNTASSER ET AL.
(DISTRICT OF MASSACHUSETTS, 2007)
                                                         X                                    X
U.S. V. HASSAN ABU JIHAAD
(DISTRICT OF CONNECTICUT, 2008)
                                                         X                                    X
U.S. V. MOHAMMED AMAWI ET AL.
(NORTHERN DISTRICT OF OHIO, 2008)
                                                         X                                    X
U.S. V. CHRISTOPHER PAUL
(SOUTHERN DISTRICT OF OHIO, 2008)
                                                         X
U.S. V. SALIM HAMDAN
(GUANTANAMO BAY MILITARY COMMISSIONS, 2008)
                                                         X                                    X
U.S. V. ALI HAMZA AL-BAHLUL
(GUANTANAMO BAY MILITARY COMMISSIONS, 2008)
                                                         X                                    X
U.S. V. MOHAMED SHNEWER ET AL.
(DISTRICT OF NEW JERSEY, 2008)
                                                         X                                    X
U.S. V. ZUBAIR AHMED ET AL.
(NORTHERN DISTRICT OF OHIO, 2009)
                                                         X
U.S. V. WESAM DELAEMA
(DISTRICT OF COLUMBIA, 2009)
                                                         X
U.S. V. OUSSAMA KASSIR
(SOUTHERN DISTRICT OF NEW YORK, 2009)
                                                         X                                    X
U.S. V. MOHAMMED ABDULLAH WARSAME
(DISTRICT OF MINNESOTA, 2009)
                                                         X
U.S. V. SYED HARIS AHMED
(NORTHERN DISTRICT OF GEORGIA, 2009)
                                                         X                                    X
U.S. V. EHSANUL SADEQUEE
(NORTHERN DISTRICT OF GEORGIA, 2009)
                                                         X                                    X
U.S. V. ABDUL TAWALA IBN AL-ISHTARI
(SOUTHERN DISTRICT OF NEW YORK, 2009)
                                                         X
U.S. V. SYED HASHMI
(SOUTHERN DISTRICT OF NEW YORK, 2009)
                                                         X
U.S. V. AL-HARAMAIN FOUNDATION ET AL.
(DISTRICT OF OREGON, 2010)
                                                         X                                    X
U.S. V. OMAR KHADR
(GUANTANAMO BAY MILITARY COMMISSIONS, 2010)
                                                         X
U.S. V. BETIM KAZIU
(EASTERN DISTRICT OF NEW YORK, 2011)
                                                         X                                    X
U.S. V. OMER ABDI MOHAMMED
(DISTRICT OF MINNESOTA, 2011)
                                                         X
U.S. V. AMINA ALI
(DISTRICT OF MINNESOTA, 2011)
                                                         X
U.S. V. DANIEL PATRICK BOYD ET AL.
(EASTERN DISTRICT OF NORTH CAROLINA, 2011)
                                                         X                                    X
U.S. V. BARRY WALTER BUJOL
(SOUTHERN DISTRICT OF TEXAS, 2011)
                                                         X                                    X
U.S. V. TAREK MEHANNA
(DISTRICT OF MASSACHUSETTS, 2011)
                                                         X                                    X
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U.S. V. PATRICK NAYYAR
(SOUTHERN DISTRICT OF NEW YORK, 2012)
                                                                          X                                    X
U.S. V. OUMAR ISSA ET AL.
(SOUTHERN DISTRICT OF NEW YORK, 2012)
                                                                          X
U.S. V. ADIS MEDUNJANIN
(EASTERN DISTRICT OF NEW YORK, 2012)
                                                                          X                                    X
U.S. V. ANES SUBASIC
(EASTERN DISTRICT OF NORTH CAROLINA, 2012)
                                                                          X                                    X
U.S. V. KHALID ALDAWSARI
(NORTHERN DISTRICT OF TEXAS, 2012)
                                                                          X
U.S. V. MOHAMMED NISAR KHAN
(WESTERN DISTRICT OF TEXAS, 2012)
                                                                          X                                    X
U.S. V. MOHAMED MOHAMUD
(DISTRICT OF OREGON, 2013)
                                                                          X                                    X
U.S. V. ABDEL HAMEED SHAHADEH
(EASTERN DISTRICT OF NEW YORK, 2013)
                                                                          X                                    X
U.S. V. SULAIMAN ABUGHAITH
(SOUTHERN DISTRICT OF NEW YORK, 2014)
                                                                          X                                    X
U.S. V. MUSTAFA KAMEL
(SOUTHERN DISTRICT OF NEW YORK, 2014)
                                                                          X                                    X
U.S. V. SAMI OSMAKAC
(MIDDLE DISTRICT OF FLORIDA, 2014)
                                                                          X                                    X
U.S. V. SOHEIL KABIR ET AL.
(CENTRAL DISTRICT OF CALIFORNIA, 2014)
                                                                          X                                    X
U.S. V. ABID NASEER
(EASTERN DISTRICT OF NEW YORK, 2015)
                                                                          X                                    X
U.S. V. DZOKHAR TSARNAEV
(DISTRICT OF MASSACHUSETTS, 2015)
                                                                          X
U.S. V. FAZLIDDIN KURBANOV
(DISTRICT OF IDAHO, 2015)
                                                                          X                                    X
U.S. V. ADAM DANDACH
(CENTRAL DISTRICT OF CALIFORNIA, 2015)
                                                                          X
U.S. V. ABDEL MALIK ABDUL KAREEM
(DISTRICT OF ARIZONA, 2016)
                                                                          X                                    X
U.S. V. AHMED MOHAMMED EL GAMMAL
(DISTRICT OF ARIZONA, 2016)
                                                                          X
U.S. V. IBRAHIM SULIEMAN ADNAN HARUN
(EASTERN DISTRICT OF NEW YORK, 2017)
                                                                          X                                    X
U.S. V. MUHANNAD AL-FAREKH
(EASTERN DISTRICT OF NEW YORK, 2017)
                                                                          X                  X
U.S. V. ABU AL-HADI AL-IRAQI
(GUANTANAMO BAY MILITARY COMMISSIONS, 2017)
                                                                          X


INVOLVEMENT IN INTERNATIONAL LEGAL CASES:                           HIRED AS EXPERT   TESTIFIED AS FACT   TESTIFIED AS
                                                                      CONSULTANT          WITNESS           EXPERT
INTERNATIONAL PROSECUTORS V. ABDULADHIM MAKTOUF
(SUPREME COURT OF BOSNIA-HERZEGOVINA, 2005)
                                                                          X                                    X
REGINA V. MOHAMMED AJMAL KHAN AND PALVINDER SINGH
(SNARESBROOK CROWN COURT, U.K., 2006)
                                                                          X                                    X
REGINA V. AL BASHIR MOHAMMED AL-FAQIH
(WOOLWICH CROWN COURT, U.K., 2007)
                                                                          X
REGINA V. TSOULI, DAOUR, AND MUGHAL
(WOOLWICH CROWN COURT, U.K., 2007)
                                                                          X                  X
REGINA V. RAJA, MALIK, IQBAL, ZAFAR, AND BUTT
(OLD BAILEY, U.K., 2007)
                                                                          X
H.M.A. V. MOHAMMED ATIF SIDDIQUE
(GLASGOW HIGH COURT, SCOTLAND, 2007)
                                                                          X                                    X
REGINA V. SAMINA MALIK
(OLD BAILEY, U.K., 2007)
                                                                          X                                    X
REGINA V. HASSAN MUTEGOMBWA
(OLD BAILEY, U.K., 2007)
                                                                          X                                    X
REGINA V. DITTA AND BILAL
(LEEDS CROWN COURT, U.K., 2008)
                                                                          X
PROSECUTOR FOR SERIOUS ECONOMIC CRIMES V. AL-AQSA ASSOCIATION
(THE HIGH COURT, COPENHAGEN, DENMARK, 2007)
                                                                          X                                    X
REGINA V. BILAL KHAZAAL
(SUPREME COURT OF NEW SOUTH WALES, AUSTRALIA, 2008)
                                                                          X                                    X
REGINA V. AABID KHAN ET AL.
(BLACKFRIARS CROWN COURT, U.K., 2008)
                                                                          X
REGINA V. IMAD SHOUBAKI ET AL.
(SOUTHWARK CROWN COURT, U.K., 2008)
                                                                          X                                    X
PUBLIC PROSECUTOR V. HAMMAD KHURSHID ET AL.
(COURT OF GLOSTRUP, COPENHAGEN, DENMARK, 2008)
                                                                          X                                    X
INTERNATIONAL PROSECUTORS V. RASIM DELIC
(INTERNATIONAL CRIMINAL TRIBUNAL FOR THE FORMER YUGOSLAVIA, 2008)
                                                                          X
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REGINA V. ABDUL NACER BENBRIKA ET AL.
(SUPREME COURT OF VICTORIA, AUSTRALIA, 2009)
                                                                                         X
PUBLIC PROSECUTOR V. HAMMAD KHURSHID ET AL. (RETRIAL)
(COURT OF GLOSTRUP, COPENHAGEN, DENMARK, 2009)
                                                                                         X                                   X
PUBLIC PROSECUTOR V. RIJAD RUSTEMPASIC ET AL.
(SUPREME COURT OF BOSNIA-HERZEGOVINA, 2010)
                                                                                         X                                   X
PUBLIC PROSECUTOR V. NUSRET IMAMOVIC ET AL.
(SUPREME COURT OF BOSNIA-HERZEGOVINA, 2013)
                                                                                         X
FEDERAL PROSECUTOR V. MOHAMMED OSAMAH ABED MOHAMMED ET AL.
(FEDERAL CRIMINAL COURT OF BERN, SWITZERLAND, 2014)
                                                                                         X                                   X


RESEARCH GRANTS

    •   The Kanishka Project (February 2013-February 2015)
                o In February 2013, Flashpoint Partners and several associated scholars were notified by the Government of Canada that our
                    team was selected as part recipients of a 5-year $10M initiative to invest in research on pressing social dilemmas for
                    Canada on terrorism and counter-terrorism, such as preventing and countering violent extremism. Flashpoint
                    specifically was chosen to receive two years of funding in order to study terrorist communications online.

BOOKS AND PAPERS

    •   Author - Al-Qaida’s Jihad in Europe: The Afghan-Bosnian Network, (Berg Publishers, September 2004)
                 o [Dr. Marko Hoare, History Faculty, University of Cambridge and author of How Bosnia Armed]: “Written by a genuine
                     expert in the subject...this is a lucid and informed account of the involvement of the mujahedin in Bosnia, one that lays the
                     myths to rest... This excellent book is essential reading for anyone wishing to understand the truth about an episode of the
                     Bosnian war that is so frequently misrepresented by those with a political motive for doing so.”1
                 o [Political Science Quarterly (PSQ)]: “About [Al-Qaida’s] operations in Europe, Evan F. Kohlmann has written an
                     illuminating book… Kohlmann is at his best in exhaustively reporting the details of such terrorist episodes. He has compiled
                     prodigious research about the perpetrators and their support networks. Moreover, he never loses sight of the strategy behind
                     the individual attacks… [a] genuine historical analysis.”2
                 o [Studies in Conflict and Terrorism]: “This book is a pathbreaking piece of research… Kohlmann addresses the issue in
                     unprecedented detail, exploiting a wide variety of available sources to piece together a largely neglected segment of
                     contemporary Bosnian history… [which] provide critical insights into terrorist preferences, motives, and interests… The
                     book… is descriptive and empirically rich.”
                 o Al-Qaida’s Jihad in Europe has consistently been used as a required or recommended course text in numerous
                     undergraduate and graduate courses in North America, Europe, and Australia, including the following courses:
                          § (Spring 2005) - “Terrorism, Security, and Intelligence” (Harvard University’s Kennedy School of Government).3
                          § (Fall 2006) - “South Asia, Al Qaeda and the Rise of International Terrorism” (School of Advanced International Studies at
                                  Johns Hopkins University).4
                            §     (Spring 2007) – “Terrorism and Modern Society” (University of Kent, Canterbury campus).5
                            §     (Fall 2007) – “Jihad and the End of the World.” (Rice University)
                            §     (Spring 2008) – “Militant Islamism.” (Princeton University)

    •   Major Papers:
            o    “Trends in Anti-American Terrorism.” Co-authored with John Eubanks. Journal of Counterterrorism and Security
                International. January 1999.
            o “Pandering to Terrorists.” Co-authored with Rita Katz. Journal of Counterterrorism and Security International. Winter 1999.
            o “The Legacy of the Arab-Afghans: A Case Study.” Georgetown University International Politics Honors Thesis, April 2001.
            o “Arabian Gulf Financial Sponsorship of Al-Qaida via U.S.-Based Banks, Corporations, and Charities.” Testimony before the
                U.S. House Committee on Financial Services, Subcommittee on Oversight and Investigations. March 11, 2003.
            o “Gulbuddin Hekmatyar and Ahmad Shah Massoud: Islamic Patriots or Ambitious Opportunists?” Final course paper for Dr.
                Brian Spooner’s graduate seminar in “Afghanistan and Islamism” at the University of Pennsylvania. April 2004.
            o “The Bosnian Mujahideen: Origins, Training and Implications.” Published as a chapter in The Making of a Terrorist, edited by
                Director of Terrorism Studies at the United States Military Academy Dr. James JF Forest. Praeger Security International, 2005.
            o “Al-Qaida in Saudi Arabia: 2002-2003.” Occasional Report published by the Nine Eleven Finding Answers (NEFA)
                Foundation. December 2005.


        1
          http://www-hjs.pet.cam.ac.uk/sections/balkans/document.2005-04-28.6595030101
        2
          http://www.ciaonet.org/olj/psq/psq_fal05/
        3
          http://ksgnotes1.harvard.edu/degreeprog/courses.nsf/webnumber/ISP213
        4
          http://eres.sais-jhu.edu/coursepage.asp?cid=165
        5
          http://library.kent.ac.uk/library/readinglists/displaylist?module=SO594
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o   “The Role of Islamic Charities in International Terrorist Recruitment and Financing.” Danish Institute for International
    Studies (DIIS) Working Paper 2006; January 2006.
o   “The Afghan-Bosnian Mujahideen Network in Europe.” Paper presented before the Swedish National Defence College Center
    for Asymmetric Threats (CATS) Workshop; May 2006.
o   “The Jihadists of Pakistan: Jaish-e-Muhammad (JEM), Harakat ul-Mujahideen (HUM), and Anjuman Sipah-e-Sahaba
    (SSP).” Occasional Report published by the Nine Eleven Finding Answers (NEFA) Foundation. August 2006.
o   “The Real Online Terrorist Threat.” Foreign Affairs. Vol. 85; No. 5. September/October 2006.
o   “The North African Mujahideen Network of the Western Balkans.” Bosnian Security After Dayton: New Perspectives. Edited
    by Michael Innes. Routledge; October 2006.
o   “Two Decades of Jihad in Algeria: the GIA, the GSPC, and Al-Qaida.” Occasional Report published by the Nine Eleven
    Finding Answers (NEFA) Foundation. May 2007.
o   “State of the Sunni Insurgency in Iraq: August 2007.” Occasional Report published by the Nine Eleven Finding Answers
    (NEFA) Foundation. September 2007.
o   “Dossier: The Libyan Islamic Fighting Group (LIFG).” Occasional Report published by the Nine Eleven Finding Answers
    (NEFA) Foundation. October 2007.
o    “Al-Qaida’s ‘MySpace’: Terrorist Recruitment on the Internet.” CTC Sentinel. Vol 1. No. 2. January 2008. Combating
    Terrorism Center, United States Military Academy (West Point).
o   “Dossier: Shaykh Mustafa Abu al-Yazid (a.k.a. ‘Shaykh Saeed’).” Occasional Report published by the Nine Eleven Finding
    Answers (NEFA) Foundation. June 2008.
o   “An Interview with Ahmad Said al-Hamed, Spokesman for the Political Wing of ‘Hamas al-Iraq.’” Exclusive NBC News
    interview, a transcript of which was later published as an Occasional Report by the Nine Eleven Finding Answers (NEFA)
    Foundation. June 2008.
o   “An Interview with the Al-Rashideen Army.” Exclusive NBC News interview, a transcript of which was later published as an
    Occasional Report by the Nine Eleven Finding Answers (NEFA) Foundation. June 2008.
o   “An Interview with ‘the Islamic Army in Iraq’ (IAI).” Exclusive NBC News interview, a transcript of which was later published
    as an Occasional Report by the Nine Eleven Finding Answers (NEFA) Foundation. July 2008.
o   “Jihad Networks in Pakistan and Their Influence in Europe.” Presentation before the III International Course on “Jihad
    Terrorism: Contingency Plans and Response”, organized by the Pablo Olavide University and the Granada University in Spain;
    subsequently published as an Occasional Report by the Nine Eleven Finding Answers (NEFA) Foundation. July 2008.
o   “’Homegrown’ Terrorists: Theory and Cases in the War on Terror’s Newest Front.” Terrorism: What the Next President Will
    Face. The ANNALS of the American Academy of Political and Social Science. Vol. 618; No. 1. July 2008.
o   “Anatomy of a Modern Homegrown Terror Cell: Aabid Khan et al.” Occasional Report published by the Nine Eleven Finding
    Answers (NEFA) Foundation. September 2008.
o   “Inside As-Sahaab: The Story of Ali al-Bahlul and the Evolution of Al-Qaida’s Propaganda.” Occasional Report published by
    the Nine Eleven Finding Answers (NEFA) Foundation. December 2008.
o   “Pakistani militants deny role in Mumbai terror attacks: An Interview with Lashkar-e-Taiba.” NBC News. December 4, 2008.
o   “’The Eleven’: Saudi Guantanamo Veterans Returning to the Fight.” Occasional Report published by the Nine Eleven Finding
    Answers (NEFA) Foundation. February 2009.
o   “Shabaab al-Mujahideen: Migration and Jihad in the Horn of Africa.” Occasional Report published by the Nine Eleven
    Finding Answers (NEFA) Foundation. May 2009.
o   “Sunni spokesman open to better ties with U.S.: An Interview with the Islamic Army of Iraq (IAI).” NBC News. August 13,
    2009. http://www.msnbc.msn.com/id/32404074/ns/dateline_nbc-the_hansen_files_with_chris_hansen.
o   “A Web of Lone Wolves.” Foreign Policy. November 13, 2009.
    http://www.foreignpolicy.com/articles/2009/11/13/a_web_of_lone_wolves
o   “No, Madam Secretary: The System Is Not Working.” Foreign Policy. December 28, 2009.
    http://www.foreignpolicy.com/articles/2009/12/28/no_madam_secretary_the_system_is_not_working
o   “A Beacon for Extremists: The Ansar al-Mujahideen Web Forum.” CTC Sentinel. Vol 3.; No. 2. February 2010. Combating
    Terrorism Center, United States Military Academy (West Point).
o   “The Role of Saudi Arabian State-Sponsored Charitable Fronts in Providing Material Support to Foreign Paramilitary and
    Terrorist Organizations.” Testimony before the U.S. Senate Committee on the Judiciary, Subcommittee on Crime and Drugs.
    July 15, 2010.
o   “Al-Qaida Branches Out: A New Threat Evolves in Yemen.” Paper presented before a workshop organized by the National
    Committee on American Foreign Policy (NCAFP); New York, NY. September 2010.
o   “Bringing Global Jihad to the Horn of Africa: al Shabaab, Western Fighters, and the Sacralization of the Somali Conflict.”
    (with Rafaello Pantucci and Lorenzo Vidino). African Security. Vol. 3; Issue 4. October 2010. Pages 216–238.
o   “Al-Qa`ida’s Yemeni Expatriate Faction in Pakistan.” CTC Sentinel. Vol 4.; No. 1. January 2011. Combating Terrorism
    Center, United States Military Academy (West Point).
o   “The Anti-Social Network.” Foreign Policy. May 23, 2011.
    http://www.foreignpolicy.com/articles/2011/05/23/the_antisocial_network
o   “Beyond Bin Laden: The Future of Al-Qaida and U.S. Homeland Security.” Testimony before the U.S. House Committee on
    Homeland Security. May 25, 2011.
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o   “The Antisocial Network: Countering the Use of Online Social Networking Technologies by Foreign Terrorist Organizations.”
    Written testimony submitted to the U.S. House Committee on Homeland Security. December 6, 2011.
o   “Curbing the Web’s Wild West.” Harvard Law Review Forum. March 2013.
o   “Convoy of Martyrs in the Levant.” A joint study with Aaron Zelin of the Washington Institute for Near East Policy. June 2013.
o   “Why Savagery Doesn’t Sell.” Politico Magazine. August 21, 2014. http://www.politico.com/magazine/story/2014/08/isil-
    islamic-state-why-savagery-doesnt-sell-110246.html
o   “Profiles of Foreign Fighters in Syria and Iraq.” CTC Sentinel. Vol 7.; No. 9. September 2014. Combating Terrorism Center,
    United States Military Academy (West Point).
o   “Charlie Hebdo and the Jihadi Online Network: Assessing the Role of American Commercial Social Media Platforms.”
    Testimony before the U.S. House Committee on Foreign Affairs; Subcommittee on Terrorism, Nonproliferation, and Trade.
    January 27, 2015.
o   “Highlights from Exclusive Interview with Senior Yemeni Official.” Flashpoint. December 11, 2019.
o   “A Look at Iran’s Affiliate Groups in the Middle East.” Flashpoint. January 24, 2020.
o   “ISIS Operations Appear to be Unaffected by Death of al-Baghdadi.” Flashpoint. January 29, 2020.
o   Untitled Chapter on the Syrian Electronic Army (SEA) in Cyber War and Cyber Peace in the Middle East. Middle East
    Institute. Summer 2020.
